                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF TENNESSEE
                           GREENEVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 2:13-CR-016
                                                  )
JEREMY H. GREENE                                  )

                            MEMORANDUM AND ORDER

              The defendant will be sentenced on November 5, 2013. He filed numerous

objections to his presentence investigation report (“PSR”). In response to those objections,

the probation office has made minor revisions to the PSR, and the defendant has responded

by filing six revised objections. For the reasons that follow, all six objections will be

overruled.

                                             I.

                                   Relevant Background

              The PSR deems the defendant a career offender under section 4B1.1 of the

advisory guidelines. That adjustment in material part requires “at least two prior felony

convictions of either a crime of violence or a controlled substance offense.” U.S. Sentencing

Guidelines Manual § 4B1.1(a) (2012). The two prior convictions relied upon by the PSR in

this case are: (1) an August 1999 aggravated burglary conviction in the Criminal Court of

Johnson County, Tennessee (PSR ¶ 34); and (2) a September 2000 second degree burglary

conviction in the Superior Court of Watauga County, North Carolina (PSR ¶ 35).




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                                                 II.

                                            Objection 1

               The defendant first objects that the above-cited convictions cannot both be counted

as career offender predicates because “the two offenses were not separated by an intervening arrest

as is required by Sentencing Guideline § 4B1.2(c) and § 4A1.2(a)(2), and were simply a part of

offenses occurring near the same time.” The defendant committed both offenses on or before

January 27, 1999 - the date he was arrested for the Tennessee crime. He was not arrested for the

North Carolina burglary until July 26, 1999. Therefore, the defendant is correct that the two crimes

were not separated by an intervening arrest.

               Guideline 4B1.2(c) provides in material part that if certain prior sentences cannot be

separately counted under guideline 4A1.1, then they also cannot each be used to meet the career

offender “two prior felony convictions” threshold. See U.S.S.G. § 4B1.2(c) (2012). Guideline

4A1.2(a)(2) in turn provides that two prior sentences sometimes are not both counted if they were

not separated by an intervening arrest. See U.S.S.G. § 4A1.2(a)(2).

               But there is more to guideline 4A1.2(a)(2) than what is presented by the defendant.

Notwithstanding the absence of an intervening arrest, prior sentences are nonetheless separately

counted if either: (a) the offenses were not contained in the same charging instrument; or (b) the

sentences were not imposed on the same day. See id. Both of those conditions are present here.

The two career offender predicates were not charged in the same instrument, or even in the same

court or the same state. Further, the sentences for these two crimes were imposed on different dates -

August 23, 1999, and September 25, 2000.



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               For these reasons, the PSR correctly counts these two sentences separately. The

defendant’s first objection will be overruled.

                                                 III.

                                           Objection 2

               The guidelines define “crime of violence” for career offender purposes as

       any offense under federal or state law, punishable by imprisonment for a term
       exceeding one year, that –

               (1) has as an element the use, attempted use, or threatened use of
               physical force against the person of another, or

               (2) is burglary of a dwelling, arson, or extortion, involves use of
               explosives, or otherwise involves conduct that presents a serious
               potential risk of physical injury to another.

U.S.S.G. § 4B1.2(a) (emphasis added). By his second objection, the defendant argues that

his North Carolina second degree burglary sentence cannot serve as a career offender

predicate because “such conviction is not necessarily burglary of a dwelling.” The defendant

presents this argument without citation to authority and unaccompanied by any

argumentation. Likely, he has waived the issue. See McPherson v. Kelsey, 125 F.3d 989,

995-96 (6th Cir. 1997) (“[I]ssues adverted to in a perfunctory manner, unaccompanied by

some effort at developed argumentation, are deemed waived. It is not sufficient for a party

to mention a possible argument in the most skeletal way, leaving the court to . . . put flesh

on its bones.”). Regardless, the court concludes that the North Carolina statute covers only

burglaries of dwellings.



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               Although he was charged with first degree burglary in violation of North

Carolina General Statute 14-51, the defendant pled guilty to second degree burglary in

violation of that same statute. The North Carolina first and second degree burglary statute

provides in full:

       There shall be two degrees in the crime of burglary as defined at the
       common law. If the crime be committed in a dwelling house, or in a room
       used as a sleeping apartment in any building, and any person is in the actual
       occupation of any part of said dwelling house or sleeping apartment at the time
       of the commission of such crime, it shall be burglary in the first degree. If such
       crime be committed in a dwelling house or sleeping apartment not actually
       occupied by anyone at the time of the commission of the crime, or if it be
       committed in any house within the curtilage of a dwelling house or in any
       building not a dwelling house, but in which is a room used as a sleeping
       apartment and not actually occupied as such at the time of the commission of
       the crime, it shall be burglary in the second degree. For the purposes of
       defining the crime of burglary, larceny shall be deemed a felony without regard
       to the value of the property in question.

N.C. Gen. Stat. § 14-51 (emphases added).

               To categorically qualify as a “crime of violence” under the career offender

guideline, a burglary statute must not be more expansive than the generic definition of

“burglary of a dwelling.” See United States v. McFalls, 592 F.3d 707, 713 (6th Cir. 2010).

Statutes overly encompassing a dwelling’s curtilage generally will not qualify. See id.

Under the generic definition of “burglary of a dwelling,” “there must be an intrusion on a

place of habitation.” Id. at 714.

               The second degree burglary language of section 14-51 is less than a model of clarity.

Nonetheless, the court reads the least clear wording - “in any house within the curtilage of a dwelling



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house or in any building not a dwelling house” - as being restricted in its entirety by the language

that follows - “in which is a room used as a sleeping apartment.” This reading is supported by the

introductory sentence of section 14-51 and by the North Carolina courts.

               In the first sentence of section 14-51, the North Carolina legislature explains that it

is codifying the first and second degrees of “the crime of burglary as defined at the common law.”

N.C. Gen. Stat. § 14-51 (emphasis added). Under the common law of North Carolina, the crime

of burglary can only take place in “a dwelling house or a room used as a sleeping apartment.” See

North Carolina v. Person, 259 S.E.2d 867, 868 (N.C. 1979); accord Good v. United States, Nos.

1:07CV178, 1:04CR330-1, 2007 WL 3226163, at *2 (M.D.N.C. Oct. 26, 2007); North Carolina v.

Rollins, 729 S.E.2d 73, 80 (N.C. Ct. App. 2012); North Carolina v. Surcey, 533 S.E.2d 479, 481

(N.C. Ct. App. 2000). In North Carolina, “[t]he sole distinction between first-degree and second-

degree burglary is the essential element of actual occupancy.” Surcey, 533 S.E.2d at 481 (citation

and quotation omitted).

               Therefore, consistent with McFalls, the crime of second degree burglary in North

Carolina requires “an intrusion on a place of habitation.” As such, the defendant’s 2000 second

degree burglary conviction was for the “burglary of a dwelling” and is correctly deemed a career

offender predicate offense. His section objection will be overruled.

                                                IV.

                                        Objections 3 and 4

               The defendant presents two additional objections pertaining to his North

Carolina second degree burglary conviction. Each of these objections is mooted by the

court’s discussion in the preceding section.

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              In this case, for the North Carolina crime of second degree burglary to be a

“crime of violence” one of three tests must be satisfied:

       1. The crime must meet the generic definition of “burglary of a dwelling,” one
       of the enhancement’s specifically enumerated crimes of violence;

       2. The crime must have as an element the use, attempted use, or threatened use
       of physical force against another; or

       3. The crime must present a serious risk of physical injury to another.

McFalls, 592 F.3d at 712 (citation omitted).

              By his third and fourth objections, the defendant argues that North Carolina

section 14-51 neither “present[s] a serious risk of physical injury to another” nor “has as an

element the use, attempted use, or threatened use of physical force against another.” Because

the court has already ruled that section 14-51 meets the generic definition of “burglary of a

dwelling” (thereby satisfying the first McFalls test), these issues are moot. The defendant’s

third and fourth objections will be overruled.

                                               V.

                                        Objection 5

              Without citation to supporting authority, the defendant next objects that the

career offender guideline cannot be applied to him because the prosecution “did not file any

information with the Court and serve a copy upon his counsel stating in writing the previous

convictions to be relied upon as required by 21 U.S.C. § 851.” This objection




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       fail[s] as a matter of law. The procedural requirements of § 851 only apply to
       statutory sentencing enhancements, not to sentencing enhancements under the
       Guidelines. See United States v. Brannon, 7 F.3d 516, 521 (6th Cir.1993)
       (“Because defendant’s sentence was enhanced under U.S.S.G. § 4B1.1, the
       notice requirements of 21 U.S.C. § 851(a)(1) are inapplicable.”); United States
       v. Mans, 999 F.2d 966, 969 (6th Cir.1993) ( “[T]he requirements of §
       851(a)(1) apply only to statutory sentence enhancement, not sentence
       enhancement under § 4B1.1 of the Sentencing Guidelines.”). Because
       Meeks’s sentence was enhanced under the Guidelines rather than under 21
       U.S.C. § 841(b), the procedural requirements of § 851 do not apply.

United States v. Meeks, 664 F.3d 1067, 1073 (6th Cir. 2012). The defendant’s fifth objection

will be overruled.

                                             VI.

                                         Objection 6

              Lastly, the defendant objects that his PSR should include a downward

mitigating role adjustment under guideline section 3B1.2 because he was “merely” a “smurf.”

This issue merits little discussion, as it does not affect the defendant’s advisory guideline

range. See Fed. R. Crim. P. 32(i)(3)(B) (district court need not rule on an objection that will

not affect sentencing).

              In determining the total offense level, the court begins with the base offense

level in chapter two of the guidelines. See U.S.S.G. § 1B1.1(a)(1)-(2). Next, the court

applies any appropriate adjustments (such as mitigating role) found in chapter three. See

U.S.S.G. § 1B1.1(a)(3)-(5). Finally, the court applies any adjustments (such as career

offender) from chapter four. See U.S.S.G. § 1B1.1(a)(6).




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              In that sequential process, the chapter four career offender adjustment overrides

all previously-applied chapter three adjustments other than the reduction for acceptance of

responsibility. See U.S.S.G. §§ 1B1.1(a), 4B1.1(b). Therefore, as a career offender, the

defendant’s total offense level would be 31 with or without a mitigating role adjustment. His

sixth objection is a moot point.

                                            VII.

                                         Conclusion

              For the reasons provided herein, the defendant’s revised objections to his PSR

are OVERRULED in their entirety.

              IT IS SO ORDERED.

                                                          ENTER:



                                                                  s/ Leon Jordan
                                                             United States District Judge




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